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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

CHARLES P. FIELD                           Civil Action No.

             Plaintiff,                    COMPLAINT and JURY DEMAND

v.

BEAVER VALLEY HOSPITALITY
ASSOCIATES I, L.P.; BEAVER
VALLEY HOSPITALITY
ASSOCIATES II, MILLCRAFT
HOSPITALITY MANAGEMENT,
INC., MILLCRAFT HOSPITALITY,
L.P. (doing business as “PIATT
HOTEL GROUP”), collectively doing
business as the “HILTON GARDEN
INN BEAVER VALLEY,” John
Doe(s) (1 through 10), ABC Corp(s) (1
through 10), XYZ Partnership(s)
(1through 10)

             Defendants.

      Plaintiff, Charles P. Field, as and for his complaint against defendants, Beaver

Valley Hospitality Associates I, L.P.; Beaver Valley Hospitality Associates II,

Millcraft Hospitality Management, Inc., and Millcraft Hospitality, L.P. (doing
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business as “Piatt Hotel Group”), collectively doing business as the “Hilton Garden

Inn Beaver Valley,” and John Doe(s) (1 through 10), ABC Corp(s) (1 through 10),

XYZ Partnership(s) (1through 10) alleges as follows:

                                    PARTIES

      1.    Plaintiff, Charles J. Fields, is an individual residing at 2670 Meadow

Lake Drive, Toms River, NJ 08755-2533.

      2.    Defendant, Beaver Valley Hospitality Associates I, L.P., is a

Pennsylvania Limited Partnership having its principal place of business at 380

Southpointe Blvd Suite 400, Canonsburg, PA 15317.

      3.    Defendant, Beaver Valley Hospitality Associates II, L.P., is a

Pennsylvania Limited Partnership having its principal place of business at 380

Southpointe Blvd Suite 400, Canonsburg, PA 15317.

      4.    Millcraft Hospitality Management, Inc. is a Pennsylvania corporation

having its principal place of business at 380 Southpointe Blvd Suite 400,

Canonsburg, PA 15317.

      5.    Millcraft Hospitality, L.P. (doing business as “Piatt Hotel Group”) is a

Pennsylvania Limited Partnership having its principal place of business at 380

Southpointe Blvd Suite 400, Canonsburg, PA 15317.

      6.    Defendants, John Doe(s) (1 through 10), ABC Corp(s) (1 through 10),

XYZ Partnership(s) (1 through 10) are persons, corporations, partnerships, and/or

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other legal entities presently unknown nor reasonably discoverable through the

exercise of ordinary diligence that own, operate, manage, maintain, design,

construct, install, repair, clean, or inspect the Hotel and/or its internal and

mechanical systems and functions, or are otherwise responsible for ensuring the

safety of the Hotel’s guests and business invitees including owners, operators,

managers, and operators, maintenance entities and personnel, repair entities and

personnel, contractors, construction-related persons and entities, plumbers,

carpenters, those charged with policing and monitoring the subject property and

others.

                         JURISDICTION, AND VENUE

      7.     Beaver Valley Hospitality Associates I, L.P.; Beaver Valley Hospitality

Associates II, Millcraft Hospitality Management, Inc., and Millcraft Hospitality,

L.P. (“Hotel Defendants”) share common officers, directors, and real, equitable,

and/or beneficial owners.

      8.     The Hotel Defendants own, operate, manage, maintain, and do business

as the hotel commonly known as the “Hilton Garden Inn Pittsburgh Area Beaver

Valley” located 2000 Wagner Rd Extension South, Monaca, Pennsylvania, 15061

(the “Hotel”).

      9.     The Hotel Defendants maintain and operate the webpages:

https://piatt.com/ hilton-garden-inn-beaver-valley/ (the “Piatt Hotel Group


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webpage”)       and      https://www.hilton.com/en/hotels/pitgvgi-hilton-garden-inn-

pittsburgh-area-beaver -valley/ (the “Hotel webpage”). The Piatt Hotel Group

webpage includes a hypertext link to the Hotel webpage captioned “Visit the Hilton

Garden Inn Beaver Valley Website.”

       10.    Residents of New Jersey who wish to do business with defendants may

actively do so over the Internet through the Piatt Hotel Group webpage and the Hotel

webpage. The Hotel Defendants enter into contracts with residents of the State of

New Jersey—including booking and prepaying for hotel stays—that involve

knowing and repeated transmission of computer files over the Internet.

       11.    Residents of New Jersey can also exchange information with the Hotel

Defendants’ host computers. Those interactions result in a high level of interactivity

and commercial nature of the exchange of information.

       12.    The Hotel Defendants have purposefully directed their activities at the

State of New Jersey and its residents; this litigation arises out of or relates to at least

one of those activities; and, the exercise of jurisdiction over defendants otherwise

comports with fair play and substantial justice.

       13.    This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332 as the matter in controversy exceeds $75,000 and it is between citizens of

different states.




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      14.    Venue is appropriate pursuant to 28 U.S.C. § 1391(b)(2) and (3) as a

substantial part of the events or omissions giving rise to the claim occurred in this

District and defendants are subject to this Court’s personal jurisdiction with respect

to the action.

                                  FIRST COUNT
                                   (Negligence)

      15.    On or about October 4, 2024, plaintiff was a registered guest at the

Hotel and its business invitee.

      16.    The shower in the guest room rented to plaintiff was unreasonably

dangerous inasmuch as it was improperly designed, improperly installed, and/or

defectively or inadequately maintained.

      17.    As such the shower posed an unreasonable danger to its users that could

not be discovered by such user through the exercise of ordinary care.

      18.    Defendants knew, or through the exercise of reasonable diligence of an

innkeeper, should have known about the unreasonable danger posed by the shower.

      19.    Defendants owed plaintiff a duty to correct the unreasonable danger

posed by the shower and/or to warn plaintiff about that unreasonably dangerous

condition.

      20.    Defendants should have corrected or warned plaintiff about the

unreasonable danger posed by the shower.



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       21.   Defendants were negligent in their ownership, maintenance, operation,

and repair of the shower where plaintiff’s accident occurred.

       22.   As a direct and proximate result of the negligence of defendants in the

manner in which the said premises were constructed, maintained, repaired, operated,

and/or policed, plaintiff, Charles P. Field, was caused to slip and fall and suffered

serious injuries; he was caused to suffer great pain and will be caused to suffer great

pain in the future; he was caused to incur medical expenses and will be caused to

incur medical expenses in the future; has suffered and will continue to suffer loss of

wages and other economic and non-economic expenses: and he was caused to suffer

permanent injury and disability.

       WHEREFORE, plaintiff, Charles P. Field, demands judgment against

defendants Beaver Valley Hospitality Associates I, L.P.; Beaver Valley Hospitality

Associates II, Millcraft Hospitality Management, Inc., Millcraft Hospitality, L.P.

(doing business as “Piatt Hotel Group”), collectively doing business as the “Hilton

Garden Inn Beaver Valley,” and John Doe(s) (1 through 10), ABC Corp(s) (1

through 10), XYZ Partnership(s) (1through 10), jointly and severally, for

compensatory damages, pre- and post-judgment interests, attorney’s fees, and costs

of suit.




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                              JURY DEMAND

           Plaintiff demands a trial by jury on all issues so triable.

                               /s/ Leonard E. Seaman
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DATED: June 13, 2025




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